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THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

LINE CONSTRUCTION BENEFIT FUND,
a Health and Welfare Fund, NATIONAL
ELECTRICAL BENEFIT FUND, a
Retirement Fund, and NATIONAL
ELECTRICAL ANNUITY PLAN, a
Retirement, Savings and Disability Benefits’
Plan,

Plaintiffs,

WPS, INC.,

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Defendant.
COMPLAINT
Plaintiffs, LINE CONSTRUCTION BENEFIT FUND, a Health and Welfare Fund,
NATIONAL ELECTRICAL BENEFIT FUND, a Retirement Fund, and NATIONAL
ELECTRICAL ANNUITY PLAN, a Retirement, Savings and Disability Benefits’ Plan, by and
through their Attorneys, Robert B. Greenberg, Matthew S. Jarka and Sam Hensel, of Asher, Gittler
& D'Alba, Ltd., and complaining of Defendant, WPS, INC., states as follows:
1, This action is brought under the provisions of Sections 502(g)(2) and 502 (a)(3), of
the Employee Retirement Income Security Act of 1974 ("ERISA"), 29 U.S.C., Secs. 1132(g)(2),
(a)(3), and 1145.
2. Jurisdiction in this Court is based upon Sections 502(e)(1) and 502(e)(2) of ERISA
[29 U.S.C. Sec. 1132(e)(1) and (e)(2)], which states in relevant part:
Where an action under this subchapter is brought in a district court
of the United States, it may be brought in the district where the plan
is administered, where the breach took place, or where a defendant

resides or may be found, and process may be served in any other
district where a defendant resides or may be found.
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3. The Plaintiffs ("Funds") receive contributions from numerous employers pursuant
to collective bargaining agreement heretofore entered into between the IBEW Local Union 47,
("Union") and Defendant, and the Funds are maintained and administered in accordance with and
pursuant to the provisions of Section 302(c)(5) of the National Labor Relations Act, as amended,
ERISA and other applicable federal law and the Funds are administered pursuant to the terms and
provisions of a certain Restated Agreement and Declaration of Trust ("Trust Agreement").

4, The Line Construction Benefit Fund office is located at 821 Parkview Blvd.,
Lombard, IL 60148-3230 and the Fund is administered in the Northern District of Illinois.

5. That the National Electric Benefit Fund, a retirement fund, is located at 2400
Research Boulevard, Suite 500, Rockville, Maryland 20850-3238.

6. That National Electric Annuity Plan is located at 2400 Research Boulevard, Suite
500, Rockville, Maryland 20850-3238.

7. As provided in their Trust Agreements, Plaintiffs are required to receive, hold and
manage all monies required to be contributed to the Funds in accordance with the provisions of
the then applicable Collective Bargaining Agreement for the uses and purposes set forth in the
Plaintiffs’ Trust Agreements.

8. Defendant is an employer engaged in an industry affecting commerce and maintains
its principal places of business at 20752 Grand Avenue, Wildomar, CA 92594.

9. Defendant employs or has employed persons represented for collective bargaining
purposes by the Union and agreed to be bound by the Collective Bargaining Agreement or
agreements referred to herein, by the terms of which Defendant was required to contribute to the

Plaintiffs’ Funds.
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10. Plaintiffs are advised and believe that Defendant has repeatedly failed to submit
accurate contribution reports and the required payments thereon to the Funds pursuant to the terms
of the Collective Bargaining Agreement by which it was bound, all in violation of its contractual
obligations and its obligations under applicable federal statutes.

11. As a result of the above-described omissions and breaches of agreement by
Defendant, Plaintiffs may be required to (a) deny the employee beneficiaries for whom
contributions have not been made the benefits provided under the Trust Agreements, thereby
causing to such employee beneficiaries substantial and irreparable damage, or (b) to provide to
employees of Defendant the benefits provided under the Trust Agreements, notwithstanding
Defendant's failure to make the required contributions thereto, thereby reducing the corpus of such
Funds and endangering the rights of the employee beneficiaries thereunder on whose behalf
contributions are being made, all to their substantial and irreparable injury.

12. Plaintiffs, in their behalf, and on behalf of all employees for whose benefit the
Funds were established, have requested Defendant to perform its obligations, but Defendant has
refused and failed to perform as herein alleged.

13. Plaintiffs are without an adequate remedy at law and will suffer immediate,
continuing and irreconcilable injury and damage unless Defendant is ordered to specifically
perform all of its obligations required under the Collective Bargaining Agreement and the Trust
Agreements, and is restrained from continuing to refuse to perform as thereunder required.

14. Defendant is delinquent to the Funds for the period March 21, 2017 through

December 31, 2018, in the amount of $748,308.58.
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15. | Defendant’s failure to pay is a violation of the Collective Bargaining Agreement
and the Trust Agreements. Plaintiffs, therefore, seek enforcement of these provisions pursuant to
Section 502(a)(3)(b)(i1) and Section 301(a) of the Labor Management Relations Act of 1947, as
amended, 29 U.S.C., Sec. 185(a).

WHEREFORE Plaintiffs pray:

(a) That judgment enter in favor of Plaintiffs and against Defendant in the amount of
SEVEN HUNDRED FORTY EIGHT THOUSAND THREE HUNDRED EIGHT AND 55/100
DOLLARS ($748,308.55), and such additional monies that accrue during the pendency of this
lawsuit.

(b) That Plaintiffs be awarded their costs, including reasonable attorney's fees incurred
in the prosecution of this action as provided in the Collective Bargaining Agreement and under the
applicable provisions of ERISA, as amended.

(c) That interest and/or liquidated damages be assessed against Defendant as provided
in the Collective Bargaining Agreement and the applicable provisions of ERISA, as amended.

(d) That Defendant be specifically ordered to furnish to Plaintiffs the required monthly
contribution reports and payments due thereunder and to continue to perform all obligations on
Defendant’s parts according the terms and conditions of its Collective Bargaining Agreement.

(e) For such other and further relief as the Court may determine just and proper.

/s/ Robert B. Greenberg
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